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Query

Reports

Utilities Help

U.S. District Court

Log Out

Eastern District of Missouri (St. Louis)
CIVIL DOCKET FOR CASE #: 4:20-cv-01444-MTS

C. Pepper Logistics, LLC et al v. Lanter Delivery Systems, LLC et Date Filed: 10/07/2020

al

Assigned to: District Judge Matthew T. Schelp
Case in other court: Circuit Court of St. Louis County, 20SL-

CC04635

Cause: 18:1836(b) Civil Action to Protect Trade Secrets

Plaintiff

C. Pepper Logistics, LLC
a Missouri limited liability company

§

represented by

EXHIBIT

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?152085725425623-L_1_0-1

Jury Demand: Defendant

Nature of Suit: 880 Defend Trade Secrets

Act (of 2016)
Jurisdiction: Federal Question

Grant J. Mabie

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St. Louis, MO 63144

314-863-9100

Email: gjm@hsbattorneys.com
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ATTORNEY TO BE NOTICED

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Fax: 314-621-6844

Email: mlevison@lashlybaer.com
TERMINATED: 02/25/2021

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anos ASE 1:21-cv-21573-JAL Document 6-2 Entered omdek&Depocket 04/23/2021 Page 2 of 17

Plaintiff

Timeless Logistical Solutions, Inc. represented by
an Illinois corporation

Plaintiff

Independent Service Provider, LLC represented by
a Missouri limited liability company

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?152085725425623-L_1_0-1

Matthew S. McBride
LASHLY AND BAER PC
714 Locust Street

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Fax: 314-621-6844

Email: mmcbride@lashlybaer.com

TERMINATED: 02/25/2021

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TERMINATED: 02/25/2021

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Jill R. Rembusch

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LEAD ATTORNEY
ATTORNEY TO BE NOTICED

John Hein

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Mark H. Levison
(See above for address)
TERMINATED: 02/25/2021

Matthew S. McBride
(See above for address)
TERMINATED: 02/25/2021

Patrick E. Foppe
(See above for address)
TERMINATED. 02/25/2021

Grant J. Mabie

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Jill R. Rembusch

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Plaintiff
Logistics Resource Solutions, Inc. represented by
Plaintiff
Interstate Service Provider, Inc. represented by

an Illinois corporation

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(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

John Hein

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Mark H. Levison
(See above for address)
TERMINATED: 02/25/2021

Matthew S. McBride
(See above for address)
TERMINATED: 02/25/2021

Patrick E. Foppe
(See above for address)
TERMINATED: 02/25/2021

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(See above for address)

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John Hein

(See above for address)

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Mark H. Levison
(See above for address)
TERMINATED: 02/25/2021

Matthew S. McBride
(See above for address)
TERMINATED: 02/25/2021

Patrick E. Foppe
(See above for address)
TERMINATED. 02/25/2021

Grant J. Mabie

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

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Plaintiff

LRS Leasing, LLC represented by
an Illinois limited liability company

V.

Defendant
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?152085725425623-L_1_0-1

Jill R. Rembusch

(See above for address)

LEAD ATTORNEY

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John Hein

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Mark H. Levison
(See above for address)
TERMINATED. 02/25/2021

Matthew S. McBride
(See above for address)
TERMINATED: 02/25/2021

Patrick E. Foppe
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TERMINATED: 02/25/2021

Grant J. Mabie

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Mark H. Levison
(See above for address)
TERMINATED: 02/25/2021

Matthew S. McBride
(See above for address)
TERMINATED: 02/25/2021

Patrick E. Foppe
(See above for address)
TERMINATED. 02/25/2021

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Lanter Delivery Systems, LLC represented by David B. Jinkins
a Delaware limited liability company THOMPSON COBURN LLP - St Louis
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Fax: 314-552-7454

Email: Jmulligan@thompsoncoburn.com

ATTORNEY TO BE NOTICED
Defendant
White Line Systems, LLC represented by R. Lance Witcher
a Texas limited liability company OGLETREE DEAKINS PC - St Louis
7700 Bonhomme Avenue
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St. Louis, MO 63105

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314-802-3948

Fax: 314-802-3936

Email: lance.witcher@odnss.com
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ATTORNEY TO BE NOTICED

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Email:

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Email:
samuel.newman@ogletreedeakins.com
ATTORNEY TO BE NOTICED

Defendant

Darien Brokerage, LLC represented by R. Lance Witcher

a Texas limited liability company (See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

David L. Schenberg
(See above for address)
ATTORNEY TO BE NOTICED

Samuel W. Newman
(See above for address)
ATTORNEY TO BE NOTICED

Defendant

Rachel Tomasek represented by Stephen Cody Reinberg
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- St Louis
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ATTORNEY TO BE NOTICED

Defendant

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Mike Tomasek

Defendant
Anton Lobov

Defendant
Antoine Wingard

Defendant
Mark Cordsen

Defendant
Randi Wood

Defendant
JOHN DOES 1 THROUGH 30

Defendant

Ryder Truck Rental, Inc. d/b/a Ryder
Transportation Services

The Rabbitt Law Firm, LLC

231 South Bemiston

Suite 1200

St. Louis, MO 63105

314-881-6600

represented by

represented by

represented by

represented by

represented by

represented by

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?152085725425623-L_1_0-1

Stephen Cody Reinberg

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Stephen Cody Reinberg

(See above for address)

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ATTORNEY TO BE NOTICED

Stephen Cody Reinberg

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ATTORNEY TO BE NOTICED

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Docket Text

10/07/2020

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NOTICE OF REMOVAL from Circuit Court of St. Louis County, Twenty-First Judicial
District, State of Missouri, case number 20SL-CC04635, with receipt number AMOEDC-
8197805, in the amount of $400 Jury Demand,, filed by Lanter Delivery Systems, LLC.
(Attachments: # | Exhibit 1 - State File, # 2 Exhibit 2 - Defendant Consents, # 3 Original
Filing Form, # 4 Civil Cover Sheet)(Braunel, Matthew) (Entered: 10/07/2020)

10/07/2020

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NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Lanter Delivery
Systems, LLC Sent To: Plaintiff (Attachments: # 1 Notice of Removal, # 2 Attachment -
Notice of Removal Attachments Pt. 1, # 3 Attachment - Notice of Removal Attachments
Pt. 2, # 4 Attachment - Notice of Removal Attachments Pt. 3)(Braunel, Matthew)
(Entered: 10/07/2020)

10/07/2020

JLo

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
Lanter Delivery Systems, LLC.. (Braunel, Matthew) (Entered: 10/07/2020)

10/07/2020

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ENTRY of Appearance by Matthew A. Braunel for Defendant Lanter Delivery Systems,
LLC. (Braunel, Matthew) (Entered: 10/07/2020)

10/07/2020

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ENTRY of Appearance by R. Lance Witcher for Defendants Darien Brokerage, LLC,
White Line Systems, LLC. (Witcher, R.) (Entered: 10/07/2020)

10/07/2020

ENTRY of Appearance by Samuel W. Newman fot Defendants Darien Brokerage, LLC,
White Line Systems, LLC. (Newman, Samuel) (Entered: 10/07/2020)

10/07/2020

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Consent to Removal by Defendants Darien Brokerage, LLC, White Line Systems, LLC.
(Witcher, R.) (Entered: 10/07/2020)

| 10/07/2020

Petition (Removal/Transfer) Received From: Circuit Court of St. Louis County, filed by
Timeless Logistical Solutions, Inc., C. Pepper Logistics, LLC, LRS Leasing, LLC,
Independent Service Provider, LLC, Logistics Resource Solutions, Inc., Interstate Service
Provider, Inc. (MFG) (Entered: 10/08/2020)

“10/08/2020 )

loo

ENTRY of Appearance by Stephen Cody Reinberg for Defendants Mark C ordsen, Anton
Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood. (Reinberg,
Stephen) (Entered: 10/08/2020)

| 10/08/2020

|

Consent MOTION for Extension of Time to File Answer re | Notice of Removal
Petition, by Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek,

Antoine Wingard, Randi Wood. (Reinberg, Stephen) (Entered: 10/08/2020)

| 10/08/2020
|

Consent MOTION for Extension of Time to File Answer or to Otherwise Plead in
Response to Plaintiffs' Petition by Defendant Lanter Delivery Systems, LLC.
(Attachments: # 1 Text of Proposed Order)(Braunel, Matthew) (Entered: 10/08/2020)

/ 10/09/2020

15

Docket Text ORDER Re: 10 Consent MOTION for Extension of Time to File Answer or
to Otherwise Plead in Response to Plaintiffs' Petition by Defendant Lanter Delivery
Systems, LLC and 9 Consent MOTION for Extension of Time to File Answer re | Notice
of Removal Petition by Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel
Tomasek, Antoine Wingard, Randi Wood; ORDERED GRANTED. Signed by District
Judge Matthew T. Schelp on 10/9/2020. (TMT) (Entered: 10/13/2020)

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| 10/12/2020
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NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Lanter Delivery
Systems, LLC Sent To: State Court - Executed (Attachments: # 1 Acknowledged State
Court Filings)(Braunel, Matthew) (Entered: 10/12/2020)

| 10/12/2020

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ENTRY of Appearance by David B. Jinkins for Defendant Lanter Delivery Systems,

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| LLC. (Jinkins, David) (Entered: 10/12/2020)

10/12/2020

14

Consent MOTION for Extension of Time to File Answer by Defendants Darien
Brokerage, LLC, White Line Systems, LLC. (Attachments: # | Attachment Proposed
Order)(Witcher, R.) (Entered: 10/12/2020)

| 10/13/2020

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NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Lanter Delivery
Systems, LLC (Supplemental) Sent To: State Court - Executed (Attachments: # 1
Supplemental Acknowledged State Court Filings)(Jinkins, David) (Entered: 10/13/2020)

"10/13/2020

Docket Text ORDER re 14 : Consent Motion for Extension of Time to File Answer by
Defendants Darien Brokerage, LLC, & White Line Systems, LLC; ORDERED
GRANTED. Signed by District Judge Matthew T. Schelp on 10/ 13/2020. (KCB)
(Entered: 10/13/2020)

| 10/15/2020
|

ENTRY of Appearance by Steven E. Garlock for Defendant Lanter Delivery Systems,
LLC. (Garlock, Steven) (Entered: 10/15/2020)

10/15/2020

2

ENTRY of Appearance by Justin Powers Mulligan for Defendant Lanter Delivery
Systems, LLC. (Mulligan, Justin) (Entered: 10/15/2020)

10/19/2020

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DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
Darien Brokerage, LLC.. (Newman, Samuel) (Entered: 10/19/2020)

10/19/2020

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
White Line Systems, LLC.. (Newman, Samuel) (Entered: 10/19/2020)

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10/27/2020

ENTRY of Appearance by Matthew S. McBride for Plaintiffs C. Pepper Logistics, LLC,
Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (McBride,
Matthew) (Entered: 10/27/2020)

10/30/2020

|

ENTRY of Appearance by David L. Schenberg for Defendants Darien Brokerage, LLC,
White Line Systems, LLC. (Schenberg, David) (Entered: 10/30/2020)

| 10/30/2020

|

MOTION to Dismiss Party Lanter Delivery Systems, LLC by Defendant Lanter Delivery
Systems, LLC. (Attachments: # | Memorandum in Support)(Jinkins, David) (Entered:
10/30/2020)

-

10/30/2020

MOTION to Dismiss Party White Line Systems, LLC and Darien Brokerage, LLC by
Defendants Darien Brokerage, LLC, White Line Systems, LLC. (Schenberg, David)
(Entered: 10/30/2020)

10/30/2020

MEMORANDUM in Support of Motion re 25 MOTION to Dismiss Party White Line
Systems, LLC and Darien Brokerage, LLC filed by Defendants Darien Brokerage, LLC,
White Line Systems, LLC. (Schenberg, David) (Entered: 10/30/2020)

11/06/2020

MOTION for Leave to File in Excess of Page Limitation by Defendants Mark Cordsen,
Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood.
(Reinberg, Stephen) (Entered: 11/06/2020)

_ 11/06/2020

MOTION to Dismiss for Lack of Jurisdiction , MOTION to Dismiss Case for Failure to
State a Claim by Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel
Tomasek, Antoine Wingard, Randi Wood. (Reinberg, Stephen) (Entered: 11/06/2020)

11/06/2020

MEMORANDUM in Support of Motion re 28 MOTION to Dismiss for Lack of
Jurisdiction MOTION to Dismiss Case for Failure to State a Claim filed by Defendants
Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi
Wood. (Attachments: # | Exhibit A - Declaration of Rachel Tomasek, # 2 Exhibit B-

| Declaration of Mike Tomasek, # 3 Exhibit C - Declaration of Mark Cordsen, # 4 Exhibit

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D - Declaration of Randi Wood, # 5 Exhibit E - Declaration of Anton Lobov, # 6 Exhibit
F - Declaration of Antoine Wingard)(Reinberg, Stephen) (Entered: 11/06/2020)

| 11/09/2020

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Docket Text ORDER re 27 : Motion for Leave to File in Excess of Page Limitation by
Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine
Wingard, Randi Wood ; ORDERED GRANTED. Signed by District Judge Matthew T.
Schelp on 11/06/2020. (KCD) (Entered: 11/09/2020)

11/12/2020

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Consent MOTION for Extension of Time to File Response/Reply to Motions to Dismiss
by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate
Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless |
Logistical Solutions, Inc.. (McBride, Matthew) (Entered: 11/12/2020)

11/13/2020

Docket Text ORDER Re: 31 Consent MOTION for Extension of Time to File
Response/Reply to Motions to Dismiss by Plaintiffs C. Pepper Logistics, LLC,
Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.; ORDERED
GRANTED. Signed by District Judge Matthew T. Schelp on 11/13/2020. (TMT)
(Entered: 11/13/2020)

11/20/2020

|

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff LRS
Leasing, LLC. Parent companies: None, Subsidiaries: None, Publicly held company:
None,. (McBride, Matthew) (Entered: 11/20/2020)

| 11/20/2020

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff |
Independent Service Provider, LLC. Parent companies: None, Subsidiaries: None,
Publicly held company: None,. (McBride, Matthew) (Entered: 11/20/2020)

- 11/20/2020

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff
Interstate Service Provider, Inc.. Parent companies: None, Subsidiaries: None, Publicly
held company: None,. (McBride, Matthew) (Entered: 11/20/2020)

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11/20/2020 | 36

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff
Logistics Resource Solutions, Inc.. Parent companies: None, Subsidiaries: None, Publicly
held company: None,. (McBride, Matthew) (Entered: 11/20/2020)

| 1/20/2020

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff
Timeless Logistical Solutions, Inc.. Parent companies: None, Subsidiaries: None,
Publicly held company: None,. (McBride, Matthew) (Entered: 11/20/2020)

11/20/2020

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Plaintiff C.
Pepper Logistics, LLC. Parent companies: None, Subsidiaries: None, Publicly held
company: None,. (McBride, Matthew) (Entered: 11/20/2020)

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MOTION to Amend/Correct File Amended C wenpleint As A Matter of Right by Plaintiffs
C. Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate Service
Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless
Logistical Solutions, Inc.. (Attachments: # | Exhibit A, Amended Complaint for
Injunctive Relief and Damages)(Levison, Mark) (Entered: 11/20/2020)

Sy) 11/24/2020

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Docket Text ORDER re 39 : Motion to Amend/Correct File Amended Complaint As A
Matter of Right by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider,
LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions,
Inc., Timeless Logistical Solutions, Inc; ORDERED GRANTED. Signed by District
Judge Matthew T. Schelp on 11/24/2020. (KCD) (Entered: 11/24/2020)

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| 11/24/2020
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NOTICE OF PROCESS SERVER by Plaintiff C. Pepper Logistics, LLC Process Server:
SRI Process (Levison, Mark) (Entered: 11/24/2020)

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?152085725425623-L_1_0-1

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11/25/2020

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42

AMENDED COMPLAINT against defendant All Defendants Amendment to |1 Petition
(Removal/Transfer),, filed by Timeless Logistical Solutions, Inc., C. Pepper Logistics,
LLC, Independent Service Provider, LLC, Logistics Resource Solutions, Inc., Interstate
Service Provider, Inc. Related document: || Petition (Removal/Transfer), filed by
Independent Service Provider, LLC, Logistics Resource Solutions, Inc., Timeless
Logistical Solutions, Inc., LRS Leasing, LLC, Interstate Service Provider, Inc., C. Pepper
Logistics, LLC.(TMT) (Entered: 11/25/2020)

| 11/25/2020

AMENDED NOTICE OF PROCESS SERVER by Plaintiff C. Pepper Logistics, LLC
Process Server: SRI Process (Attachments: # | Summons Ryder Truck Rental, Inc.)
(Levison, Mark) Modified on 11/25/2020 (TMT). (Entered: 11/25/2020)

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| 11/25/2020

on

Summons Issued as to defendant Ryder Truck Rental, Inc. d/b/a Ryder Transportation
Services. The summons was emailed to Attorney Mark Levison. (TMT) (Entered:
11/25/2020)

"12/01/2020

Consent MOTION for Extension of Time t to ‘F ile Response/Reply as to 42 Amended
Complaint,, by Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel
Tomasek, Antoine Wingard, Randi Wood. (Reinberg, Stephen) (Entered: 12/01/2020)

12/01/2020

Consent MOTION for Extension of Time to File Answer re 42 Amended Complaint,, or

To Otherwise Plead in Response to Plaintiffs' Amended Complaint to December 18, 2020
by Defendant Lanter Delivery Systems, LLC. (Attachments: # | Text of Proposed Order)
(Jinkins, David) (Entered: 12/01/2020) |

12/02/2020

SUMMONS Returned Executed filed iy Cc. Pepper Logistics, LLC. Ryder Truck Rental,
Inc. d/b/a Ryder Transportation Services served on 11/25/2020, answer due 12/16/2020.
(Levison, Mark) (Entered: 12/02/2020)

12/02/2020

Docket Text ORDER Re: 45 Consent MOTION for Extension of Time to File
Response/Reply as to 42 Amended Complaint by Defendants Mark Cordsen, Anton
Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood and 46 Consent
MOTION for Extension of Time to File Answer re 42 Amended Complaint or To
Otherwise Plead in Response to Plaintiffs‘ Amended Complaint to December 18, 2020 by
Defendant Lanter Delivery Systems, LLC.; ORDERED GRANTED. Signed by District
Judge Matthew T. Schelp on 12/2/2020. (TMT) (Entered: 12/02/2020)

12/02/2020

Consent MOTION for Extension of Tine to File Answer re 42 Amended Complaint,, by
Defendants Darien Brokerage, LLC, White Line Systems, LLC. (Newman, Samuel)
(Entered: 12/02/2020)

12/04/2020

ENTRY of Appearance by Arin Smith for Defendant Ryder Truck Rental, Inc. d/b/a
Ryder Transportation Services. (Smith, Arin) (Entered: 12/04/2020)

12/04/2020

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MOTION for Extension of Time to File Answer re 42 Amended Complaint,, by
Defendant Ryder Truck Rental, Inc. d/b/a Ryder Transportation Services. (Smith, Arin)
(Entered: 12/04/2020)

12/04/2020

ENTRY of Appearance by James E Bennett fat Defendant Ryder Truck Rental, Inc. d/b/a
Ryder Transportation Services. (Bennett, J ames) (Entered: 12/04/2020)

| 12/07/2020

Docket Text ORDER: Re: 49 Consent Motion for Extension of Time to File Answer re 42
Amended Complaint by Defendants Darien Brokerage, LLC, White Line Systems, LLC. ;
51 MOTION for Extension of Time to File Answer re 42 Amended Complaint by
Defendant Ryder Truck Rental, Inc. d/b/a Ryder Transportation Services; ORDERED
GRANTED. Signed by District Judge Matthew T. Schelp on 12/7/2020. (BRP) (Entered:
12/07/2020)

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| 12/1 8/2020.

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| MOTION for ‘Leave t to VE File ‘Memorandum it in . Support of Motion to Dismiss Amended

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| Complaint in Excess of Page Limitation by Defendant Lanter Delivery Systems, LLC.
| (Jinkins, David) (Entered: 12/18/2020)

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12/18/2020

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| MOTION to Dismiss Party Lanter Delivery Systems, LLC by Defendant Lanter Delivery
| Systems, LLC. (Jinkins, David) (Entered: 12/18/2020)

12/18/2020

MEMORANDUM in Support of Motion re 55 MOTION to Dismiss Party Lanter

# | Exhibit 1)(Jinkins, David) (Entered: 12/18/2020)

Delivery Systems, LLC filed by Defendant Lanter Delivery Systems, LLC. (Attachments: |

12/18/2020

MOTION to Stay Two Newly Added Contract Claims in Amended Complaint by
Defendant Lanter Delivery Systems, LLC. (Attachments: # | Exhibit 1, #2 Exhibit 2)
(Jinkins, David) (Entered: 12/18/2020)

| 2/18/2020

MOTION to Dismiss Party White Line Systems, LLC and Darien Brokerage, LLC by
Defendants Darien Brokerage, LLC, White Line Systems, LLC. (Witcher, R.) (Entered:
12/18/2020)

12/1 8/2020

MEMORANDUM in Support of Motion 1 re 58 MOTION. to Dismiss Party White Line
Systems, LLC and Darien Brokerage, LLC filed by Defendants Darien Brokerage, LLC,
White Line Systems, LLC. (Witcher, R.) (Entered: 12/18/2020)

| 12/21/2020

60

Docket Text ORDER Re: 54 MOTION for Leave to File Memorandum in Support of
Motion to Dismiss Amended Complaint in Excess of Page Limitation filed by Lanter
Delivery Systems, LLC; ORDERED GRANTED. Signed by District Judge Matthew T.
Schelp on 12/21/2020. (TMT) (Entered: 12/21/2020)

| 12/23/2020

Second MOTION for Leave to File in Excess of Page Limitation by Defendants Mark
Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood.
(Reinberg, Stephen) (Entered: 12/23/2020)

12/23/2020

MOTION to Dismiss for Lael of Jurisdiction and Failure to State a Chain by Defendants
Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi
Wood. (Reinberg, Stephen) (Entered: 12/23/2020)

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| 12/23/2020

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MEMORANDUM in Support of Motion re 62 MOTION to Dismiss for Lack of
Jurisdiction and Failure to State a Claim filed by Defendants Mark Cordsen, Anton
Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood. (Attachments: #
| Exhibit A - Declaration of Rachel Tomasek, # 2 Exhibit B - Declaration of Mike
Tomasek, # 3 Exhibit C - Declaration of Mark Cordsen, # 4 Exhibit D - Declaration of
Randi Wood, #5 Exhibit E - Declaration of Anton Lobov, # 6 Exhibit F - Declaration of
Antoine Wingard)(Reinberg, Stephen) (Entered: 12/23/2020)

12/23/2020

Docket Text ORDER Re: 61 Second MOTION for Leave to File in Excess of Page
Limitation filed by Randi Wood, Antoine Wingard, Mark Cordsen, Anton Lobov, Mike
Tomasek, Rachel Tomasek; ORDERED GRANTED. Signed by District Judge Matthew
T. Schelp on 12/23/2020. (TMT) (Entered: 12/23/2020)

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01/08/2021

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Consent MOTION for] Extension of Time to File Response/Reply as to 63 Memorandum
in Support of Motion,, 62 MOTION to Dismiss for Lack of Jurisdiction and Failure to
State a Claim by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider,
LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions,
Inc., Timeless Logistical Solutions, Inc.. (McBride, Matthew) (Entered: 01/08/2021)

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Consent MOTION for Extension 1 of Time to File Response/Reply as to 59 Memorandum
in Support of Motion, 55 MOTION to Dismiss Party Lanter Delivery Systems, LLC, 56
| Memorandum in Support of Motion, 58 MOTION to Dismiss Party White Line Systems,
LLC and Darien Brokerage, LLC, 57 MOTION to Stay Two Newly Added Contract
Claims in Amended Complaint by Plaintiffs C. Pepper Logistics, LLC, Independent

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| Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics
Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (McBride, Matthew)
(Entered: 01/08/2021)

| 01/11/2021 67 | Docket Text ORDER Re: 65 Consent MOTION for Extension of Time to File
Response/Reply as to 63 Memorandum in Support of Motion,, 62 MOTION to Dismiss
for Lack of Jurisdiction and Failure to State a Claim by Plaintiffs C. Pepper Logistics,
LLC, Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing,
| LLC, Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.; and 66

| | Consent MOTION for Extension of Time to File Response/Reply as to 59 Memorandum _|
| in Support of Motion, 55 MOTION to Dismiss Party Lanter Delivery Systems, LLC, 56

| Memorandum in Support of Motion, 58 MOTION to Dismiss Party White Line Systems,
LLC and Darien Brokerage, LLC, 57 MOTION to Stay 7wo Newly Added Contract
Claims in Amended Complaint by Plaintiffs C. Pepper Logistics, LLC, Independent

| Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics
Resource Solutions, Inc., Timeless Logistical Solutions, Inc.; ORDERED GRANTED.
Signed by District Judge Matthew T. Schelp on 1/11/2021. (TMT) (Entered: 01/11/2021)

01/15/2021 68 | MOTION to Dismiss Party Defendant Ryder Truck Rental, Inc. by Defendant Ryder
| @ Truck Rental, Inc. d/b/a Ryder Transportation Services. (Bennett, James) (Entered:
| 01/15/2021)

69

MEMORANDUM in Support of Motion re 68 MOTION to Dismiss Party Defendant
Ryder Truck Rental, Inc. Memorandum in Support of Its Motion to Dismiss Plaintiffs'
Amended Complaint filed by Defendant Ryder Truck Rental, Inc. d/b/a Ryder

‘Transportation Services. (Bennett, James) (Entered: Ol l 5/2021)

“01/15/2021

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01/15/2021 70 MEMORANDUM i in Opposition re 57 MOTION to Stay Two Newly Added Contract

| Claims in Amended Complaint filed by Plaintiffs C. Pepper Logistics, LLC, Independent
| Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics

| Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Levison, Mark) (Entered:
| O1/ 15/2021)

01/15/2021 71 | MOTION for Leave to File in Excess of Page Limitation with Raspear to

| | MEMORANDUM IN OPPOSITION TO WHITE LINE SYSTEMS, LLC AND DARIEN

| | BROKERAGE, LLCS MOTION TO DISMISS PLAINTIFFS AMENDED COMPLAINT

| FOR INJUNCTIVE RELIEF AND DAMAGES by Plaintiffs C. Pepper Logistics, LLC,
Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
| Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Levison, Mark)
(Entered: 01/15/2021)

|' MEMORANDUM in Opposition re 58 MOTION to Dismiss Party White Line Systems,

| LLC and Darien Brokerage, LLC filed by Plaintiffs C. Pepper Logistics, LLC,

| Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Levison, Mark)
(Entered: 01/15/2021)

01/15/2021

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MEMORANDUM IN OPPOSITION TO LANTER DELIVERY SYSTEMS, LLCS MOTION
TO DISMISS PLAINTIFFS AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND
| DAMAGES by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider, LLC,

| | Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc.,

| Timeless Logistical Solutions, Inc.. (Levison, Mark) (Entered: 01/15/2021) |

01/15/2021

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01/15/2021 74 | MEMORANDUM in Opposition re 55 MOTION to Dismiss Party Lanter Delivery
Systems, LLC filed by Plaintiffs C. Pepper Logistics, LLC, Independent Service
| Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource

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| Solutions, Inc., Timeless Logistical Solutions, Inc.. (Levison, Mark) (Entered:
| 01/15/2021)

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with Respect to MEMORANDUM IN OPPOSITION TO WHITE LINE SYSTEMS, LLC
AND DARIEN BROKERAGE, LLCS MOTION TO DISMISS PLAINTIFFS AMENDED
COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES by Plaintiffs (Levison,
Mark) & 73 MOTION for Leave to File in Excess of Page Limitation with Respect to
MEMORANDUM IN OPPOSITION TO LANTER DELIVERY SYSTEMS, LLCS MOTION
TO DISMISS PLAINTIFFS AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND
DAMAGES by Plaintiffs (Levison, Mark); ORDERED GRANTED. Signed by District
Judge Matthew T. Schelp on January 19, 2021. (BRP) (Entered: 01/19/2021)

01/22/2021

Consent MOTION for Extension of Time to File Response/Reply as to 55 MOTION to
Dismiss Party Lanter Delivery Systems, LLC, 57 MOTION to Stay Two Newly Added
Contract Claims in Amended Complaint up to and including February 8, 2021 by
Defendant Lanter Delivery Systems, LLC. (Jinkins, David) (Entered: 01/22/2021)

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01/23/2021

Consent MOTION for Extension of Time to File Response/Reply as to 63 Memorandum
in Support of Motion,, 62 MOTION to Dismiss for Lack of Jurisdiction and Failure to
State a Claim by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider,
LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions,

Inc., Timeless Logistical Solutions, Inc.. (McBride, Matthew) (Entered: 01/23/2021)

01/23/2021

Consent MOTION for Extension of Time to File Response/Reply as to 69 Memorandum
in Support of Motion, 68 MOTION to Dismiss Party Defendant Ryder Truck Rental, Inc.
by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate
Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless

, Logistical Solutions, Inc.. (McBride, Matthew) (Entered: 01/23/2021)

| 01/25/2021

Consent MOTION for Extension of Time to File Response/Reply as to 58 MOTION to
Dismiss Party White Line Systems, LLC and Darien Brokerage, LLC by Defendants
Darien Brokerage, LLC, White Line Systems, LLC. (Newman, Samuel) (Entered:
01/25/2021)

01/26/2021

80

Docket Text ORDER: Re: 79 Consent MOTION for Extension of Time to File
Response/Reply; 77 Consent MOTION for Extension of Time to File Response/Reply; 76
Consent MOTION for Extension of Time to File Response/Reply; 78 Consent MOTION
for Extension of Time to File Response/Reply; ORDERED GRANTED. Signed by

District Judge Matthew T. Schelp on 1/26/2021. (BRP) (Entered: 01/26/2021)

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| 02/01/2021

DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
Ryder Truck Rental, Inc. d/b/a Ryder Transportation Services. Parent companies: Ryder
System, Inc., Subsidiaries: None., Publicly held company: None.,. (Smith, Arin)
(Entered: 02/01/2021)

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MEMORANDUM in Opposition re 62 MOTION to Dismiss for Lack of Jurisdiction and
Failure to State a Claim filed by Plaintiffs C. Pepper Logistics, LLC, Independent
Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics
Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Levison, Mark) (Entered:
02/01/2021)

| 02/08/2021

REPLY to Response to Motion re 58 MOTION to Dismiss Party White Line Systems,
LLC and Darien Brokerage, LLC filed by Defendants Darien Brokerage, LLC, White
Line Systems, LLC. (Witcher, R.) (Entered: 02/08/2021)

02/08/2021
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REPLY to Response to Motion re 55 MOTION to Dismiss Party Lanter Delivery
| Systems, LLC filed by Defendant Lanter Delivery Systems, LLC. (Jinkins, David)

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02/08/2021
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| (Entered: 02/08/2021)

REPLY to Response to Motion re 57 MOTION to Stay Two Newly Added Contract
Claims in Amended Complaint filed by Defendant Lanter Delivery Systems, LLC.
(Jinkins, David) (Entered: 02/08/2021)

02/08/2021

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Consent MOTION for Extension of Time to File Response/Reply as to 62 MOTION to
Dismiss for Lack of Jurisdiction and Failure to State a Claim by Defendants Mark
Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood.
(Reinberg, Stephen) (Entered: 02/08/2021)

02/12/2021

MOTION to Withdraw as Attorney of Record for Plaintiffs ;attorney/firm Mark H.
Levison, Matthew S. McBride, Patrick E. Foppe of Lashly & Baer, P.,C. by Plaintiffs C.
Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate Service Provider,
Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless Logistical
Solutions, Inc.. (Levison, Mark) (Entered: 02/12/2021)

02/16/2021

88

Docket Text ORDER Re: 86 Consent MOTION for Extension of Time to File
Response/Reply as to 62 MOTION to Dismiss for Lack of Jurisdiction and Failure to
State a Claim by Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel
Tomasek, Antoine Wingard, Randi Wood. (Reinberg, Stephen); ORDERED GRANTED.
Signed by District Judge Matthew T. Schelp on February 16, 2021. (BRP) (Entered:
02/16/2021)

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| 02/23/2021

ENTRY of Appearance by John Hein for Plaintiffs C. Pepper Logistics, LLC,
Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Hein, John)
(Entered: 02/23/2021)

02/23/2021

90

ENTRY of Appearance by Grant J. Mabie for Plaintiffs C. Pepper Logistics, LLC,
Independent Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC,
Logistics Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Mabie, Grant)

|
(02/23/2021

(Entered: 02/23/2021)

| 02/25/2021

| 92

Docket Text ORDER: IT IS HEREBY ORDERED that the Motion for Leave to
Withdraw as Attorneys of Record for Plaintiffs and to Stay Proceedings (Doc. 87 ) is
GRANTED, in part. Mark H. Levison, Matthew S. McBride, Patrick E. Foppe, and the
law firm of Lashly & Baer, P.C., may withdraw from this matter as counsel of record for
Plaintiffs. The case will not be stayed, as new counsel have already entered an
appearance on behalf of Plaintiffs. The case will proceed consistent with all current
Court-ordered deadlines. Signed by District Judge Matthew T. Schelp on 2/25/2021.
(KCD) (Entered: 02/25/2021)

| 02/26/2021

MOTION for Leave to File in Excess of Page Limitation by Defendants Mark Cordsen,
Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood.
(Reinberg, Stephen) (Entered: 02/26/2021)

(02/26/2021

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REPLY to Response to Motion re 62 MOTION to Dismiss for Lack of Jurisdiction and
Failure to State a Claim filed by Defendants Mark Cordsen, Anton Lobov, Mike
Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood. (Reinberg, Stephen)
(Entered: 02/26/2021)

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03/01/2021

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Docket Text ORDER Re: 93 MOTION for Leave to File in Excess of Page Limitation by

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| Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine

Wingard, Randi Wood; ORDERED GRANTED. Signed by District Judge Matthew T.
Schelp on 3/1/2021. (TMT) (Entered: 03/01/2021)

(03/05/2021

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MOTION for Leave to File Affidavits and Additional Briefing in Support of Personal
Jurisdiction by Plaintiffs C. Pepper Logistics, LLC, Independent Service Provider, LLC,
Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc.,
Timeless Logistical Solutions, Inc.. (Hein, John) (Entered: 03/05/2021)

| 03/07/2021

MEMORANDUM in Opposition re 96 MOTION for Leave to File Affidavits and
Additional Briefing in Support of Personal Jurisdiction filed by Defendants Mark
Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood.
(Reinberg, Stephen) (Entered: 03/08/2021)

|
03/12/2021

REPLY to Response to Motion re 96 MOTION for Leave to File Affidavits and
Additional Briefing in Support of Personal Jurisdiction filed by Plaintiffs C. Pepper
Logistics, LLC, Independent Service Provider, LLC, Interstate Service Provider, Inc.,
LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless Logistical Solutions,
Inc.. (Mabie, Grant) (Entered: 03/12/2021)

03/12/2021

99

MOTION for Leave to File Sealed Document (Declaration and Exhibits) by Plaintiffs C.
Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate Service Provider,
Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless Logistical
Solutions, Inc.. (Mabie, Grant) (Entered: 03/12/2021)

| 03/12/2021

SEALED DOCUMENT - SURRESPONSE re 99 MOTION for Leave to File Sealed
Document (Declaration and Exhibits), 82 Memorandum in Opposition to Motion, 98
Reply to Response to Motion, 62 MOTION to Dismiss for Lack of Jurisdiction and
Failure to State a Claim, 97 Memorandum in Opposition to Motion, 94 Reply to
Response to Motion, 63 Memorandum in Support of Motion,, 96 MOTION for Leave to
File Affidavits and Additional Briefing in Support of Personal Jurisdiction by Plaintiffs
C. Pepper Logistics, LLC, Independent Service Provider, LLC, Interstate Service
Provider, Inc., LRS Leasing, LLC, Logistics Resource Solutions, Inc., Timeless
Logistical Solutions, Inc.. (Attachments: # 1 Affidavit Declaration of Timothy Dew, # 2
Exhibit Exhibits to Declaration of Timothy Dew)(Mabie, Grant) Modified on 3/15/2021
(TMT). (Entered: 03/12/2021)

03/15/2021

***R EMARK Re: 98 , 99 , and 100 - The use of an attorney's electronic filing login and
password to file a pleading, motion, memorandum or other document constitutes the
signature of that attorney on that document for all purposes, including Fed.R.Civ.P. 11.
(This document will be accepted by the Court, but for future filings please see Local Rule
11-2.11 located on the court website.) (TMT) Modified on 3/15/2021 (TMT). (Entered:
03/15/2021)

03/26/2021

Consent MOTION for Extension of Time to File Response/Reply as to 99 MOTION for
Leave to File Sealed Document (Declaration and Exhibits), 100 Sealed Document,,, by
Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine
Wingard, Randi Wood. (Reinberg, Stephen) (Entered: 03/26/2021)

| 03/29/2021

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Docket Text ORDER Re: 101 Consent MOTION for Extension of Time to File

Response/Reply as to 99 MOTION for Leave to File Sealed Document (Declaration and
Exhibits), 100 Sealed Document by Defendants Mark Cordsen, Anton Lobov, Mike |
Tomasek, Rachel Tomasek, Antoine Wingard, Randi Wood; ORDERED GRANTED. |
Signed by District Judge Matthew T. Schelp on 3/29/2021. (TMT) (Entered: 03/29/2021) |

04/02/2021

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103

RESPONSE to 99 Motion for Leave to File Declaration and Exhibits Under Seal filed by |
Defendants Mark Cordsen, Anton Lobov, Mike Tomasek, Rachel Tomasek, Antoine

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Wingard, Randi Wood. (Reinberg, Stephen) Modified on 4/5/2021 (TMT). (Entered:
04/02/2021)

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04/12/2021

REPLY to Response to Motion re 99 MOTION for Leave to File Sealed Document
(Declaration and Exhibits) filed by Plaintiffs C. Pepper Logistics, LLC, Independent
Service Provider, LLC, Interstate Service Provider, Inc., LRS Leasing, LLC, Logistics
Resource Solutions, Inc., Timeless Logistical Solutions, Inc.. (Hein, John) (Entered:
04/12/2021)

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